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            EXHIBIT C
       Case 4:25-cv-04451-KAW                          Document 1-3               Filed 05/27/25       Page 2 of 3
                                            A Limited Liability Company                                                  Writer’s Direct Contact:
                                            400 East Pratt Street                                                                    Mark Edelson
                                                                                                                                     443-909-7510
                                            9th Floor                                                                medelson@silvermanthompson.com
                                            Baltimore, Maryland 21202
                                            Telephone 410.385.2225
                                            Facsimile 410.547.2432
                                            silvermanthompson.com
ATTORNEYS AT LAW                            Baltimore | Towson | Washington, DC




                                                           March 6, 2025

 VIA FIRST CLASS MAIL CERTIFIED MAIL, RETURN RECEIPT REQUESTED
 AND ELECTRONIC MAIL

 LA Produce Distributors LLC
 c/o Mr. Matthew Clarke
 1601 East Olympic Boulevard, Bldg. 100
 Los Angeles, California 90021


 Mr. Matthew Clarke
 1601 East Olympic Blvd., Bldg. 100
 Los Angeles, California 90021


        Re:      Silo Technologies, Inc. v. LA Produce Distributors LLC
                 NOTICE OF DEFAULT AND DEMAND TO CURE

 Dear Mr. Clarke:

        Silo Technologies, Inc. (“Silo”) has retained this law firm with respect to the obligations
 and indebtedness owed by LA Produce Distributors LLC pursuant to the Cash Advance Program
 and Master Service Agreement (“Cash Advance Program”) that LA Produce Distributors LLC
 entered into with Silo.

       As you are aware, LA Produce Distributors LLC is in default of the terms of the Cash
 Advance Program and owes a balance of $2,155,417.60 to Silo (“Debt”).

         Silo has authorized this firm to commence appropriate legal proceedings to collect the Debt
 unless this mater can be resolved. Legal action will result in additional costs for which you will be
 responsible, including Silo’s attorneys’ fees and expenses. Silo reserves all rights, claims, and
 causes of action against you under the Cash Advance Program, any related agreements, and
 governing law, including but not limited to, Silo’s right to seek a judgment against you and to
 exercise its rights as a secured creditor under the Uniform Commercial Code. Any judgment will
 include prejudgment and post-judgment interest at the maximum rate allowable by law.

         You must make immediate arrangements to resolve this matter, but by no later than March
 20, 2025, to avoid legal action. This letter was sent by first-class mail, postage prepaid, and
 certified mail to ensure receipt of the same.
                     Washington                                                                      Towson
              1750 K Street NW, Suite 810                                                   1 W Pennsylvania Ave, #905
                Washington, DC 20006                                                            Towson, MD 21204
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                         Very truly yours,

                                /s/

                         Mark Edelson
